              Case 3:20-bk-00600-JAF         Doc 25     Filed 07/23/20     Page 1 of 16




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

In re:

MICHAEL JAMAL COKER,                                       Case No.: 3:20-bk-00600-CJJ

            Debtor.                                        Chapter 7
______________________________________/

                          TRUSTEE'S MOTION FOR APPROVAL OF
                         SETTLEMENT AGREEMENT WITH DEBTOR

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

         Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
         paper without further notice or hearing unless a party in interest files a response
         within twenty-one (21) days from the date set forth on the attached proof of service,
         plus an additional three days for service if any party was served by U.S. Mail. You
         should read these papers carefully and discuss them with your attorney if you have
         one. If the paper is an objection to claim in this bankruptcy case, your claim may be
         reduced, modified, or eliminated.

         If you object to the relief requested in this paper, you must file a response with the
         Clerk of the Court at 300 North Hogan Street, Suite 3-150, Jacksonville, FL 32202
         and serve a copy on the movant’s attorney, Katherine C. Fackler, Esq., Akerman
         LLP, 50 North Laura Street, Suite 3100, Jacksonville, FL 32202, and any other
         appropriate persons within the time allowed. If you file and serve a response within
         the time permitted, the Court will either schedule and notify you of a hearing or
         consider the response and grant or deny the relief requested without a hearing.

         If you do not file a response within the time permitted, the Court will consider that
         you do not oppose the relief requested in the paper, will proceed to consider the
         paper without further notice or hearing, and may grant the relief requested.



         Doreen Abbott, as Chapter 7 Trustee (the “Trustee”), by and through her undersigned

counsel, and pursuant to Federal Bankruptcy Procedure 9019 and Local Bankruptcy Rule 2002-

4, moves the Court for entry of an Order in the form attached hereto as Exhibit A, approving the

terms of the settlement agreement set forth below (the “Settlement Agreement”) between the


                                                   1
            Case 3:20-bk-00600-JAF          Doc 25    Filed 07/23/20   Page 2 of 16




Trustee and the debtor, Michael Jamal Coker (the “Debtor”). In support of this Motion, the

Trustee would say:

                                            Background

       On February 21, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for

relief (the “Petition”) (Doc. 1) under Chapter 7 of Title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Middle District of Florida,

Jacksonville Division, in the case styled In re Michael Jamal Coker, Case No: 3:20-bk-0600-CJJ

(the “Bankruptcy Case”). The Trustee was appointed Chapter 7 Trustee in the Bankruptcy Case.

                                       Real Property Interests

       A.      Real Properties

       On Schedule A/B of the Petition, the Debtor scheduled interests in certain real property

including, inter alia: (i) 4601 SE 30th Street, Ocala FL 34480 (the “Homestead”), with a value of

$275,000; (ii) 3487 SW 10th Terrace, Ocala, FL 34471 (the “10th Terrace Property”), with a

value of $230,000; (iii) 4836 D Street, Philadelphia, PA 19120 (the “Philadelphia Property”),

with a value of $54,000; and (iv) 1201 NE 33rd Street, Ocala, Florida (the “33rd Street

Property”), with a value of $47,335.

       The Debtor claimed the Homestead Property exempt pursuant to Art. X, § 4(a)(1), Fla.

Const. and §§ 222.01 and 222.02, Fla. Stat.

       The Debtor scheduled mortgages (i) on the 10th Terrace Property, with a balance of

$190,000; (ii) on the Philadelphia Property, with a balance of $60,000; and (iii) on the 33rd

Street Property, with a balance of $20,953.18.

       On June 24, 2020, the Trustee recorded a Notice of Interest in Property for the 10th

Terrace Property in the Public Records of Marion County, Florida, commencing at Official



                                                  2
            Case 3:20-bk-00600-JAF          Doc 25     Filed 07/23/20     Page 3 of 16




Records Book 7213, Page 782 (the "10th Terrace Notice of Interest") and a Trustee's Notice of

Interest in Property for the 33rd Street Property in the Public Records of Marion County, Florida,

commencing at Official Records Book 7213, Page 779 (the "33rd Street Notice of Interest"). On

June 26, 2020, the Trustee recorded a Notice of Interest in Property for the Philadelphia Property

in the Public Records of Philadelphia County, Pennsylvania, at Recording Number: 53682118

(the "Philadelphia Notice of Interest," and together with the 10th Terrace Notice of Interest and

33rd Street Notice of Interest, the "Notices of Interest in Property").

       The 10th Terrace Property is leased to Christopher Barry for $1,300 per month, the

Philadelphia Property is leased to Sarah Coker and Diane Miller for a total of $1,000 per month,

and the 33rd Street Property is leased to Rebecca Hernandez pursuant to a “rent to own”

agreement for $700 per month.       The Trustee asserts that any rent received by the Debtor on

account of any leases of the foregoing real properties after the Petition Date (the “Postpetition

Rent”) is property of the Debtor’s bankruptcy estate, and the Debtor is required to turn over the

Postpetition Rent to the Trustee. The Debtor represented to the Trustee that as of June 30, 2020,

he had received $6,400 in Postpetition Rent.

       The Debtor did not claim any exemptions in the 10th Terrace Property, Philadelphia

Property, or 33rd Street Property. The Trustee asserts that there is equity in the 10th Terrace

Property, Philadelphia Property, and 33rd Street Property, such that the Trustee could sell each

of those properties free and clear of liens, claims, encumbrances, and interests pursuant to

section 363 of the Bankruptcy Code, for the benefit of the bankruptcy estate.

       B.      Timeshare

       On Schedule A/B, the Debtor scheduled an interest in a Club Wyndham timeshare in the

amount of $3,000 (the “Timeshare”). The Debtor scheduled a lien on the Timeshare in excess of



                                                  3
             Case 3:20-bk-00600-JAF          Doc 25    Filed 07/23/20    Page 4 of 16




its scheduled value, however, the Trustee believes she could facilitate a sale of the Timeshare for

a net benefit to the bankruptcy estate.

                                          Personal Property

         On Schedule A/B, the Debtor scheduled interests in, inter alia, (i) a 2008 Honda Civic in

the amount of $1,000 (the “Civic”); (ii) a trailer in the amount of $500 (the “Trailer”); (iii)

various household goods and furnishings in the amount of $3,315 (the “Household Items”); (iv)

electronics in the amount of $875 (the “Electronics”); (v) equipment in the amount of $600 (the

“Equipment”); (vi) a gun in the amount of $200; (vii) clothing and jewelry in the amount of $250

(the “Clothing”); and (viii) cash and accounts in the amount of $161 (collectively, the “Cash”).

         On Schedule C, the Debtor claimed exempt, inter alia, (i) $1,000 in the Civic, pursuant to

§ 222.25(1), Fla. Stat., and (ii) $1,000 in the Household Items, pursuant to Art. X, § 4(a)(2), Fla.

Const.

         The Trustee asserts that the Trailer, non-exempt portion of the Household Items,

Electronics, Equipment, Clothing, and Cash (collectively, the “Non-Exempt Personal Property”)

are property of the Debtor’s bankruptcy estate pursuant to section 541 of the Bankruptcy Code,

and the Debtor is required to turn over the Non-Exempt Personal Property to the Trustee

pursuant to 11 U.S.C. § 541.

                                          Trustee’s Pleadings

         On May 19, 2020, the Trustee filed an Objection to the Debtor’s Claims of Exemptions

(the “Objection to Exemptions”) (Doc. 14) on grounds that the values claimed exempt are too

low and exceed the amounts the Debtor is entitled to claim exempt under applicable law. The

Trustee also filed an Application to Employ Naji Hassan and 7 Star Realty (Doc. 20) as real




                                                   4
            Case 3:20-bk-00600-JAF          Doc 25    Filed 07/23/20      Page 5 of 16




estate agent for the bankruptcy estate, which the Bankruptcy Court approved by Order at Doc.

21.

                                   Terms of Settlement Agreement

       The Trustee and the Debtor have agreed to a settlement of all claims and interests

disclosed by the Debtor arising out of or related to the Bankruptcy Case, including but not

limited to the Homestead Property, 10th Terrace Property, Philadelphia Property, 33rd Street

Property, Notices of Interest in Property, Postpetition Rent, Timeshare, Civic, Non-Exempt

Property, and Objection to Exemptions (collectively, the “Settled Claims”), whereby:

       1)      The Debtor shall pay the Trustee $51,100 (the “Settlement Payment”) as follows:

(a) $25,000 due on or before September 1, 2020, and (b) nine (9) additional payments of $2,900

each, beginning on October 1, 2020 and continuing on or before the first (1st) day of each month

for eight (8) months thereafter;

       2)      The Debtor shall make all payments under the Settlement Payment by check

payable to “Doreen Abbott, Trustee” and mail them to the Trustee at Post Office Box 56257,

Jacksonville, FL, 32241-6257;

       3)      Simultaneously with the execution of this Settlement Agreement, the Debtor shall

turn over all Postpetition Rent ($6,400) to the Trustee received by the Debtor as of June 30,

2020, and the Debtor shall be entitled to retain any rent received on or after July 1, 2020;

       4)      The Settlement Payment and the Postpetition Rent (collectively, the “Estate

Funds”) shall be property of the bankruptcy estate, free and clear of all liens, claims, and

encumbrances, and the Trustee shall distribute the Estate Funds in accordance with the

provisions of section 726 of the Bankruptcy Code;




                                                 5
            Case 3:20-bk-00600-JAF          Doc 25      Filed 07/23/20     Page 6 of 16




       5)      Upon receipt of the Settlement Payment in full, the Trustee will record releases of

the Notices of Interest in Property;

       6)      As security for the Settlement Payment, the Debtor hereby assigns and grants to the

Trustee a continuing lien on and security interest in all pre-Petition Date and post-Petition Date

non-exempt personal property, both tangible and intangible, owned by the Debtor (the “Personal

Property”). The Debtor hereby authorizes the Trustee at any time and from time to time, to file in

any Uniform Commercial Code jurisdiction, any initial financing statements and amendments

thereto that (a) indicate the Personal Property (i) as all assets of Debtor or words of similar effect,

regardless of whether any particular asset comprised in the Personal Property falls within the scope

of Article 9 of the Florida Uniform Commercial Code or such jurisdiction, or (ii) as being of an

equal or lesser scope or with greater detail, and (b) contain any other information required by Part

V of Article 9 of the Florida Uniform Commercial Code for the sufficiency or filing office

acceptance of any financing statement or amendment, including without limitation the UCC-1

Financing Statement attached hereto as Exhibit B. Upon payment of the Settlement Payment in

full, the Trustee or her assignees will take whatever steps as may be necessary to release the lien

created herein. Rights to the Settlement Payment and corresponding lien and security interest may

be assigned by the Trustee;

       7)      Upon the Trustee’s timely receipt of the Settlement Payment in good and sufficient

funds, the Trustee and the bankruptcy estate shall be deemed to have released the Debtor of the

Settled Claims and any other known claims the Trustee and the bankruptcy estate could have

asserted against him, and the Debtor shall be deemed to have released the Trustee and the

bankruptcy estate of any and all claims the Debtor asserted or could have asserted against the

Trustee and the bankruptcy estate; and



                                                   6
              Case 3:20-bk-00600-JAF       Doc 25     Filed 07/23/20    Page 7 of 16




       8)       If an Order approving this Settlement Agreement is not entered or does not

become final and non-appealable, or the Debtor does not timely pay the Settlement Payment,

then the terms of the Settlement Agreement contained herein shall be of no force and effect and

the Trustee and the Debtor shall retain all or their respective rights, remedies, claims, and

defenses.

       For administrative purposes only, the Settlement Payment shall be allocated as follows:

(i) $7,000 to the Non-Exempt Property; (ii) $18,000 to the equity in the 10th Terrace Property;

(iii) $18,000 to the equity in the 33rd Street Property; and (iv) $8,100 to the equity in the

Philadelphia Property.

       If the Debtor fails to timely pay the Settlement Payment as described herein, then after

ten (10) days’ written notice to the Debtor and the Debtor’s counsel and the Debtor’s failure to

cure within that ten (10) day period, the Trustee, upon submission of an affidavit stating that the

Debtor failed to timely comply with the terms of this Settlement Agreement, shall be entitled to:

       (i)      retain any portion of the Settlement Payment received by the Trustee as of

       the date of the Debtor’s default; and

       (ii)     entry of an order requiring the Debtor to turn over the outstanding balance

       of the Settlement Payment along with interest on the outstanding sum at the rate

       of 18% per annum and all of the attorneys' fees and costs that the Trustee incurs

       in recovering sums due the estate from the Debtor;

provided however, that the Trustee shall not be required to give the Debtor or his counsel

notice of any default after two occurrences of a default prior to submitting an affidavit of

default.




                                                 7
            Case 3:20-bk-00600-JAF         Doc 25    Filed 07/23/20     Page 8 of 16




      The Debtor fully understands and agrees that once an Order approving

this Settlement Agreement is entered by the Bankruptcy Court, failure to comply with the

terms contained herein will be considered a “willful failure to obey a lawful court order”

and shall serve as grounds for revocation of his discharge pursuant to 11 U.S.C. § 727.

The Debtor further warrants and represents that he has the financial resources to make the

Settlement Payment required under this Settlement Agreement.

       This Settlement Agreement shall be deemed the joint work product of all parties and their

respective counsel, if any, and all parties shall be considered the drafters of this Settlement

Agreement. Any rule of construction to the effect that any ambiguities are to be construed

against the drafting party shall not be applicable in any interpretation of this Settlement

Agreement. Each of the parties declares that they have been represented by counsel in

connection with the negotiation of this Settlement Agreement or have had the opportunity and

wherewithal to be represented by counsel in the review, negotiation, and execution of this

Settlement Agreement, and that the terms and conditions of this Settlement Agreement are

understood fully and agreed to voluntarily.

       Because the costs and time involved in resolving the bankruptcy estate’s interest in the

Settled Claims other claims described herein could yield less than what creditors will receive as a

result of this compromise, the Trustee believes that this compromise is reasonable and

recommends it to the creditors of this estate.

       This notice is being served on all parties on the attached mailing matrix.

                        [SIGNATURES ON THE FOLLOWING PAGE]




                                                 8
Case 3:20-bk-00600-JAF   Doc 25   Filed 07/23/20   Page 9 of 16




                                    /s/ Jacob A. Brown
           Case 3:20-bk-00600-JAF         Doc 25       Filed 07/23/20   Page 10 of 16




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished either
by electronic notification or by United States mail, postage prepaid and properly addressed, this
23rd day of July, 2020, to:

Michael Jamal Coker                                    Doreen Abbott. Chapter 7 Trustee
4601 SE 30th Street                                    PO Box 56257
Ocala, FL 34480                                        Jacksonville, FL 32241-6257

J. Herbert Williams, Esq.                              United States Trustee - JAX 13/7
J. Herbert Williams, P.A.                              Office of the United States Trustee
702 South Magnolia Avenue, Suite 2                     George C. Young Federal Building
Ocala, FL 34471                                        400 West Washington Street, Suite 1100
                                                       Orlando, FL 32801

and all parties on the attached mailing matrix.


                                                       /s/ Jacob A. Brown
                                                       Attorney




                                                  10
Case 3:20-bk-00600-JAF   Doc 25   Filed 07/23/20   Page 11 of 16
Case 3:20-bk-00600-JAF   Doc 25   Filed 07/23/20   Page 12 of 16
                  Case 3:20-bk-00600-JAF   Doc 25    Filed 07/23/20       Page 13 of 16




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION
                                     www.flmb.uscourts.gov

    In re:

    MICHAEL JAMAL COKER,                                  Case No.: 3:20-bk-00600-CJJ

                Debtor.                                   Chapter 7
    ______________________________________/

                        ORDER APPROVING SETTLEMENT AGREEMENT

             THIS CASE came before the Court upon the Motion (the "Motion")1 (Doc. ____) of

Doreen Abbott, as Chapter 7 Trustee, for entry of an Order approving the terms of the Settlement

Agreement by and between the Trustee and the Debtor, Michael Jamal Coker. There being no

objection to the Motion after proper notice to interested parties pursuant to Local Bankruptcy Rule

2002-4 on July 23, 2020, it is

             ORDERED:

             1.      The Motion is GRANTED.




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    Defined terms from the Motion are incorporated by reference herein.
              Case 3:20-bk-00600-JAF       Doc 25     Filed 07/23/20     Page 14 of 16




         2.      The Settlement Agreement is approved and is fully enforceable in all respects. The

Debtor and the Trustee shall comply with all terms of the approved Settlement Agreement.

         3.      The Debtor shall pay the Settlement Payment ($51,100) as follows: (a) $25,000 due

on or before September 1, 2020, and (b) nine (9) additional payments of $2,900 each, beginning

on October 1, 2020 and continuing on or before the first (1st) day of each month for eight (8)

months thereafter.

         4.      The Debtor shall pay all payments by check payable to Doreen Abbott, Trustee,

and mailed to the Trustee at PO Box 56257, Jacksonville, Florida 32241-6257.

         5.      Simultaneously with the execution of the Settlement Agreement, the Debtor shall

turn over all Postpetition Rent ($6,400) to the Trustee, and the Debtor shall be entitled to retain

any rent received on or after July 1, 2020.

         6.      The Estate Funds shall be property of the bankruptcy estate, free and clear of all

liens, claims, and encumbrances, and the Trustee shall distribute the Estate Funds in accordance

with the provisions of section 726 of the Bankruptcy Code.

         7.      Upon receipt of the Settlement Payment in full, the Trustee will record releases of

the Notices of Interest in Property.

         8.      Upon the Trustee’s timely receipt of the Settlement Payment in good and sufficient

funds, the Trustee and the bankruptcy estate shall be deemed to have released the Debtor of the

Settled Claims and any other known claims the Trustee and the bankruptcy estate could have asserted

against him, and the Debtor shall be deemed to have released the Trustee and the bankruptcy estate

of any and all claims the Debtor asserted or could have asserted against the Trustee and the

bankruptcy estate.




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             Case 3:20-bk-00600-JAF      Doc 25     Filed 07/23/20     Page 15 of 16




Attorney Jacob A. Brown is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of this order.




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                              Case 3:20-bk-00600-JAF              Doc 25         Filed 07/23/20      Page 16 of 16


STATE OF FLORIDA UNIFORM COMMERCIAL CODE
FINANCING STATEMENT FORM
  A. NAME & DAYTIME PHONE NUMBER OF CONTACT PERSON
  Jacob A. Brown, Esq. (904) 798-3700
  B. Email Address jacob.brown@akerman.com
  C. SEND ACKNOWLEDGEMENT TO:
  Name      Jacob A. Brown, Esq.

  Address     Akerman LLP

  Address     50 North Laura Street, Suite 3100

  City/State/Zip Jacksonville, FL 32202
                                                                                        THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

1. DEBTOR’S EXACT FULL LEGAL NAME – INSERT ONLY ONE DEBTOR NAME (1a OR 1b) – Do Not Abbreviate or Combine Names
  1.a ORGANIZATION’S NAME

  1.b INDIVIDUAL’S SURNAME                                     FIRST PERSONAL NAME                  ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX
  Coker                                                        Michael                               Jamal
  1.c MAILING ADDRESS Line One
                                                                                               This space not available.
  4601 SE 30th Street
      MAILING ADDRESS Line Two                                 CITY                                            STATE       POSTAL CODE        COUNTRY
                                                               Ocala                                           FL             34480           USA

2. ADDITIONAL DEBTOR’S EXACT FULL LEGAL NAME – INSERT ONLY ONE DEBTOR NAME (2a OR 2b) – Do Not Abbreviate or Combine Names
  2.a ORGANIZATION’S NAME

  2.b INDIVIDUAL’S SURNAME                                     FIRST PERSONAL NAME                  ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX

  2.c MAILING ADDRESS Line One
                                                                                               This space not available.
      MAILING ADDRESS Line Two                                 CITY                                            STATE       POSTAL CODE        COUNTRY



3. SECURED PARTY’S NAME (or NAME of TOTAL ASSIGNEE of ASSIGNOR S/P) – INSERT ONLY ONE SECURED PARTY (3a OR 3b)
  3.a ORGANIZATION’S NAME

  3.b INDIVIDUAL’S SURNAME                                     FIRST PERSONAL NAME                  ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX
  Abbott                                                       Doreen                                                                         as Trustee
  3.c MAILING ADDRESS Line One
                                                                                               This space not available.
     PO Box 56257
      MAILING ADDRESS Line Two                                 CITY                                            STATE       POSTAL CODE        COUNTRY
                                                               Jacksonville                                    FL           32241-6257        USA
4. This FINANCING STATEMENT covers the following collateral:

All personal property, both tangible and intangible, owned by the Debtor, including but not limited to goods, inventory,
equipment, fixtures, accounts, chattel paper, commercial tort claims, deposit accounts, letters of credit, or rights arising
out of other types of payment, general intangibles, payment intangibles, documents, instruments, receivables, tort
claims, investments, deposit accounts, and money.

5. ALTERNATE DESIGNATION (if applicable)           LESSEE/LESSOR              CONSIGNEE/CONSIGNOR         BAILEE/BAILOR

                                                  AG LIEN                     NON-UCC FILING               SELLER/BUYER

6. Florida DOCUMENTARY STAMP TAX – YOU ARE REQUIRED TO CHECK EXACTLY ONE BOX
 X    All documentary stamps due and payable or to become due and payable pursuant to s. 201.22 F.S., have been paid.

      Florida Documentary Stamp Tax is not required.

7. OPTIONAL FILER REFERENCE DATA

STANDARD FORM - FORM UCC-1 (REV.05/2013)                         Filing Office Copy                   Approved by the Secretary of State, State of Florida


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